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                               UNITED STATES DISTRICT COURT
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                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                                        EASTERN DIVISION
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      CHRISTINA LE,                                   No. 5:18-CV-1564 JGB (SPx)
12
                  Plaintiff,                          ORDER STAYING THE CASE AND
13                                                    CONTINUING THE SCHEDULING
                         v.                           CONFERENCE DUE TO THE LAPSE
14                                                    OF APPROPRIATIONS
      RICHARD V. SPENCER, in his
15    official capacity as Secretary of the
      Navy,                                           Honorable James V. Selna,
16                                                    United States District Judge
                  Defendant.
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19          The Court, having considered Defendant’s ex parte application for a stay of the
20    entire case and a continuance of the hearing on the Federal Defendant’s Motion to
21    Dismiss Plaintiff’s First Amended Complaint (“Motion”) due to the lapse of
22    appropriations to the Department of Justice (“Department”), and good cause appearing
23    therefor, hereby ORDERS that, due to the lapse in appropriations, this action is hereby
24    stayed until funding for the Department is restored. The hearing on Defendant’s
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     Case 5:18-cv-01564-JGB-SP Document 30-1 Filed 12/26/18 Page 2 of 2 Page ID #:434



 1    Motion, which is fully briefed and currently set for hearing on January 7, 2019, is
 2    continued to ______________.
 3    Dated: December 26, 2018
 4

 5                                                                              _____
                                          HONORABLE JAMES V. SELNA
 6                                        UNITED STATES DISTRICT JUDGE
 7
       NICOLA T. HANNA
 8     United States Attorney
       DAVID M. HARRIS
 9     Assistant United States Attorney
       Chief, Civil Division
10     JOANNE S. OSINOFF
11     Assistant United States Attorney
       Chief, General Civil Section
12

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14
          /s/
15     JENNIFER R. JACOBS
       Assistant United States Attorney
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       Attorneys for Defendant
17     United States of America
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